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                                                             GIGANEWS, INC., and
                                                           9 LIVEWIRE SERVICES, INC.
                                                          10                        UNITED STATES DISTRICT COURT
                                                          11                      CENTRAL DISTRICT OF CALIFORNIA
                                                          12                                WESTERN DIVISION
F ENWICK & W EST LLP
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                                                          13 PERFECT 10, INC., a California
                                          SAN FRANCISCO




                                                                                                     Case No.: 11-cv-07098-AB (SHx)
                                                             corporation,
                                                          14                                         [PROPOSED] JUDGMENT IN
                                                                             Plaintiff,              FAVOR OF DEFENDANTS
                                                          15                                         GIGANEWS, INC. AND
                                                                    v.                               LIVEWIRE SERVICES, INC.
                                                          16
                                                             GIGANEWS, INC., a Texas Corporation;    Courtroom: 790 (Roybal)
                                                          17 LIVEWIRE SERVICES, INC., a Nevada
                                                                                                     Judge:     Hon. André Birotte, Jr.
                                                             corporation; and DOES 1 through 100,
                                                          18 inclusive,
                                                          19                  Defendants.
                                                          20
                                                             GIGANEWS, INC., a Texas Corporation;
                                                          21 LIVEWIRE SERVICES, INC., a Nevada
                                                             Corporation,
                                                          22
                                                                              Counterclaimants,
                                                          23
                                                                                 v.
                                                          24
                                                             PERFECT 10, INC., a California
                                                          25 Corporation,
                                                          26                 Counterdefendant.
                                                          27
                                                          28
                                                               [PROPOSED] JUDGMENT IN FAVOR OF                    CASE NO. 11-cv-07098-AB (SHx)
                                                               GIGANEWS AND LIVEWIRE
                                          Case 2:11-cv-07098-AB-JPR Document 628 Filed 11/26/14 Page 2 of 3 Page ID #:34489



                                                           1         On November 14, 2014, the Court granted summary judgment in favor of
                                                           2 Defendants Giganews, Inc. and Livewire Services, Inc. on the issues of direct,
                                                           3 contributory and vicarious copyright infringement, completely resolving the action.
                                                           4 See Dkt. 619, 620, and 621. The Court now issues a final judgment on all of
                                                           5 Plaintiff’s claims, particularly including the following, as well as the related
                                                           6 counterclaims by Defendants:
                                                           7      1. Trademark. Plaintiff’s claims of direct trademark infringement, secondary
                                                           8         trademark infringement, and trademark dilution, against both Defendants
                                                           9         (Dkt. 1) are dismissed. Dkt. 97 at 19-22.
                                                          10      2. Right of Publicity. Plaintiff’s claims against both Defendants under
                                                          11         California law for violation of the rights of publicity (Dkt. 1) are dismissed.
                                                          12         Dkt. 97 at 22-24.
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                                                          13      3. California Unfair Competition. Plaintiff’s state-law claims against both
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                                                          14         Defendants for violation of the California Unfair Competition Law (Dkt. 1)
                                                          15         are dismissed. Dkt. 97 at 22-24.
                                                          16      4. Direct Copyright Infringement. Plaintiff’s claims of direct copyright
                                                          17         infringement by Defendants Giganews and Livewire (Dkt. 1 and 105) are
                                                          18         dismissed. Dkt. 97 at 7-13; Dkt 619.
                                                          19      5. Contributory Copyright Infringement. Plaintiff’s claims of contributory
                                                          20         infringement against both Defendants (Dkt. 1 and 105) are dismissed. Dkt.
                                                          21         129 at 4-5; Dkt. 620.
                                                          22      6. Vicarious Copyright Infringement. Plaintiff’s claims of vicarious
                                                          23         infringement against Defendants Giganews and Livewire (Dkt. 1 and 105)
                                                          24         are dismissed. Dkt. 129 at 5-6; Dkt. 620.
                                                          25         The Court GRANTS FINAL JUDGMENT in favor of Defendants and
                                                          26 against Plaintiff Perfect 10 as to all the claims by Plaintiff in the case. Plaintiff
                                                          27 shall take nothing. Furthermore, the Court GRANTS FINAL JUDGMENT in
                                                          28 favor of Counterclaimants and against Counter-Defendant Perfect 10 in conjunction
                                                               [PROPOSED] JUDGMENT IN FAVOR OF            1                 CASE NO. 11-cv-07098-AB (SHx)
                                                               GIGANEWS AND LIVEWIRE
                                          Case 2:11-cv-07098-AB-JPR Document 628 Filed 11/26/14 Page 3 of 3 Page ID #:34490



                                                           1 with the counterclaims for declaratory relief. The Court DECLARES that
                                                           2 Defendants did not infringe any of Perfect 10’s copyrights, either directly or
                                                           3 indirectly, and thus are not liable for direct infringement, contributory infringement
                                                           4 or vicarious infringement. The Court also DECLARES that Defendants Giganews
                                                           5 and Livewire bear no liability to Perfect 10 for any asserted cause of action.
                                                           6         As the prevailing parties in this litigation, Defendants Giganews and
                                                           7 Livewire are entitled to recover costs. Fed. R. Civ. P. 54(d)(1); Civ. L.R. 54-1. In
                                                           8 accordance with Local Rule 54-2, Defendants shall file their Notice of Application
                                                           9 to the Clerk to Tax Costs and Proposed Bill of Costs within fourteen (14) days after
                                                          10 the entry of this judgment. Fees and expenditures taxable as costs may include all
                                                          11 items identified under 28 U.S.C. § 1920 or Civil Local Rule 54-3. See Civ. L.R.
                                                          12 54-3.1-13.
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                                                          13         Defendants Giganews and Livewire may seek reimbursement of their
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                                                          14 reasonable attorneys’ fees to the extent allowed by 15 U.S.C. § 1117, 17 U.S.C.
                                                          15 § 505, Cal. Civ. Code § 3344, or any other applicable law. The Court exercises its
                                                          16 discretion under Civil Local Rule 54-10 to extend the time within which
                                                          17 Defendants may bring a motion for attorneys’ fees. See Civ. L.R. 54-10 (“Any
                                                          18 motion or application for attorneys’ fees shall be served and filed within fourteen
                                                          19 (14) days after the entry of judgment or other final order, unless otherwise ordered
                                                          20 by the Court.”) (emphasis added). In light of the duration, number, volume, and
                                                          21 complexity of proceedings and filings in this case, the Court EXTENDS THE
                                                          22 TIME for Defendants to serve and file any motion or application for attorney’s fees
                                                          23 until 28 days following entry of this judgment. Should Defendants bring a
                                                          24 motion for attorneys’ fees, they shall serve it with sufficient notice to permit
                                                          25 Plaintiff 14 days to oppose the motion.
                                                          26 IT IS SO ORDERED.
                                                          27 Dated: November 26, 2014
                                                                                                           ANDRÉ BIROTTE JR.
                                                          28                                          United States District Court Judge
                                                               [PROPOSED] JUDGMENT IN FAVOR OF         2                  CASE NO. 11-cv-07098-AB (SHx)
                                                               GIGANEWS AND LIVEWIRE
